Case 1:04-cr-10lO3-.]DT Document 30 Filed 06/13/05 Page 1 of 2 Page|D 33

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UNITED STATES DISTRICT COURT

FOR THE :'»H§J"‘s"f~`~¢lfi` R Dl THOL!O

cogsa as crst ct

WESTERN DISTRICT OF TENNESSEE W» D- OF TN JACKSON
ORDER OF PRODUCTION

No= 1;0410103-01-T
USA v. DAle 130an
AD PRoSEQUENDUi\/i

FOR= SUPERVISED
RELEASE
VIOLATION
HEARING

TO: USM, Westem District of TN
Warden, Shelby County Jail

YOU ARE HEREBY COMMANDED to have the person ofDavid Bonds, by you restrained of
his/her liberty, as it is Said, by whatsoever names detained, together with the day and cause of his
being taken and detained, before the Honorable J ames D. Todd, U. S. District Court Judge, for the
Western District of Tennessee, at the room of said Court, in the City of Jackson, Tennessee, at
8:45 a.m. on the 15th day of June, 2005, then and there to do, submit to, and receive whatsoever
the said Judge shall then and there determine in that behalf; and have you then and there this writ',
further, to hold him in federal custody until disposition of this case and to produce him for such

other appearances as this court may direct.

ENTERED THIS M-_DAY OF % , 20 g § .
(\/l§l/M~M D' M

JAME . TODD
UNIT STATES DISTRICT J'UDGE

 

Thls document entered on the docket sheet in compliance
with Rule 55 and/ors:z(b) trach on ila l 13 | O_?_S

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CR-10103 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

